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Attorney for Plaintiff


                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

 DALE OSBORNE,                       )
 as Personal Representative of       )   Cause No. CV-14-126-BLG-SPW
 the Estate of Sarah Osborne,        )   Hon. Susan P. Watters
                                     )
              Plaintiff,             )
                                     )
 vs.                                 )
                                     )   AMENDED COMPLAINT AND
 BILLINGS CLINIC, and UNITED         )   JURY TRIAL DEMAND
 STATES OF AMERICA,                  )
                                     )
         Defendants.                 )
______________________________       )
                                     )
 BILLINGS CLINIC,                    )
                                     )
              Cross-Claimant,        )
                                     )
 vs.                                 )
                                     )
 UNITED STATES OF AMERICA,           )
                                     )
             Cross-Defendant.        )
                                     )
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       COMES NOW the Plaintiff, and demands a jury trial and alleges as follows:

                                          PARTIES

1.     Sarah Osborne, deceased, was a resident of Yellowstone County, Montana,

       on all dates relevant to this Complaint.

2.     Plaintiff, Dale Osborne, Sarah Osborne's father, is the duly appointed and

       acting personal representative for the Estate of Sarah Osborne, deceased.

       Plaintiff brings this action on behalf of the estate and on behalf of the heir or

       heirs as defined by Montana wrongful death law. Dale Osborne is and was at

       all relevant times a resident of Lewis and Clark County, Montana.

3.     Defendant Billings Clinic is a hospital in Billings, Montana. It employed

       doctors, nurses, and other health care providers, who committed acts and

       omissions described in this Complaint.        Defendant Billings Clinic also

       authorized employees of the United States (through Riverstone Health) to

       act as its agents. These agents also committed acts and omissions described

       in this Complaint, which caused the injuries described, including Sarah

       Osborne’s death.

4.     Defendant United States of America is the employer of individual doctors

       and residents at Riverstone Health (Riverstone), a federally qualified

       community health center. The individual doctors, residents, and Riverstone

       committed acts and omissions described in this complaint as employees of


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       Riverstone and as agents of the Billings Clinic. Throughout this Complaint,

       the USA is sometimes referred to as “Riverstone.”

5.     At all times relevant, the Riverstone employees have been deemed

       employees of the United States of America (USA). These employees at all

       times acted within the course of their offices or employment under

       circumstances where the USA, if a private citizen, would be liable to

       Plaintiff under the laws of the State of Montana. 28 U.S.C. § 1346 (b).

6.     Plaintiff complied with the requirements of 28 U.S.C. § 2675(a) by first

       submitting an administrative claim against the USA pursuant to the Federal

       Tort Claims Act.

                           JURISDICTION AND VENUE

7.     The Court has subject matter jurisdiction over Plaintiff’s FTCA claims under

       28 U.S.C. § 1331 and § 1346(b).

8.     The Court has supplemental jurisdiction over Plaintiff’s state law claims

       under 28 U.S.C.§1367.

9.     The Court has personal jurisdiction over the USA and the Billings Clinic.

10.    Venue is proper in the Billings Division of the Montana U.S. District Court

       because the negligent acts occurred in Billings, Montana. 28 U.S.C.

       §1402(b).

///


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                     FACTS RELEVANT TO ALL COUNTS

11.    Plaintiff realleges and incorporates by this reference paragraphs 1-10 above.

12.    On July 1, 2012, Sarah Osborne (“Sarah”) presented to the Billings Clinic

       Emergency Department with symptoms of a urinary tract infection, right-

       sided abdominal pain, right-sided back pain, pyuria, nausea, and vomiting.

13.    The Billings Clinic Emergency Department admitted Sarah with a urinary

       tract infection at 1:33 p.m. on July 1, 2012.

14.    The Billings Clinic and/or Riverstone doctors and residents administered a

       test when it admitted Sarah, which showed that she also had a painful, toxic

       bacteria in her gastrointestinal tract, known as clostridium dificile, or “c.

       dif.”

15.    Sarah was 27 years old, and was well known as a patient of Billings Clinic

       doctors, nurses, and other health care providers because of her diagnosis of

       diabetes.

16.    Despite the fact that the Billings Clinic and its doctors, nurses and other

       providers knew her well, instead of assigning Sarah to those doctors, the

       Billings Clinic assigned her care to the Billings Clinic Family Residency

       Program, and first year medical residents at Riverstone Health.

17.    Riverstone Health acted for and with the authority of the Billings Clinic.

       Riverstone Health doctors and residents were and are agents of the Billings


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       Clinic.

18.    Billings Clinic knew that Sarah had been an insulin dependent diabetic since

       she was fifteen. Billings Clinic doctors had treated Sarah for various related

       health problems, and had performed surgery on her multiple times.

19.    Sarah's records with the Billings Clinic included a documented history of

       sensitivity, reactions, tolerance, and allergies to specific prescription

       medications, including, but not limited to, Dilaudid, Reglan, and Benadryl.

20.    The Billings Clinic and Riverstone knew that Sarah had a history of

       respiratory arrest when she took prescribed pain medications, including

       those described in paragraph 10 above. Sarah had arrested at least twice in

       the Billings Clinic before July 1, 2012. The Billings Clinic and its doctors

       also knew, and had records and notice of a respiratory arrest related to

       Dilaudid and Ultram, and possibly other drugs, in the Bozeman Deaconess

       Hospital prior to Sarah's admission on July 1, 2012.

21.    After admitting Sarah, the Billings Clinic and Riverstone gave her numerous

       pain medications, but did not monitor her.

22.    During the evening of July 1, 2012 and into the morning of July 2, 2012,

       Sarah vomited continuously and was in great pain. The Billings Clinic and

       Riverstone administered pain medications, including morphine, Fentanyl,

       and Dilaudid, throughout the night.


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23.    Throughout the night, Sarah's oxygen saturation levels decreased. The

       Billings Clinic and Riverstone gave her extra oxygen through a cannula at

       3:08 a.m.

24.    As of 8:00 a.m. on July 2, 2012, although Sarah's pain levels had decreased

       as the result of the pain medications given throughout the night, she still had

       right upper quadrant pain in her abdomen.

25.    At 8:00 a.m. on July 2, 2012, the Billings Clinic and/or Riverstone removed

       the oxygen cannula, which was giving Sarah extra oxygen, and left her on

       room air.

26.    The last electronic record of that anyone from the Billings Clinic or

       Riverstone checked on Sarah Osborne was at 8:45 a.m. She told a Billings

       Clinic nurse that she was tired. The nurse helped her into bed, turned off the

       light and shut the door.

27.    At 9:20 a.m. on July 2, 2012, a volunteer at the Billings Clinic noticed that

       Sarah was not breathing. She was in respiratory and cardiac arrest.

28.    After five minutes, Billings Clinic and/or Riverstone personnel began chest

       compressions.

29.    Sarah suffered severe hypoxic brain injury.             She never regained

       consciousness.

30.    Over the next nine days, the Billings Clinic and/or Riverstone kept her on


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       life support. On the ninth day, on the advice of the Billings Clinic and/or

       Riverstone, her family withdrew life support, and she died.

                                       Count I
             Billings Clinic-Negligence-Wrongful Death-MCA 27-1-513

31.    Plaintiff realleges and incorporates by this reference paragraphs 1-30 above.

32.    The Billings Clinic and Riverstone failed to meet, and violated, the standards

       of care used by qualified health care professionals in like circumstances as

       follows:

       (a)    Negligently failed to assess, monitor, and manage Sarah's condition

              during her hospitalization while she was a patient at the Billings

              Clinic;

       (b)    Negligently administered drugs that the Billings Clinic and Riverstone

              doctors and residents knew were likely to cause Sarah to suffer

              respiratory arrest;

       (c)    Negligently failed to monitor Sarah Osborne’s condition while on

              narcotic pain medications when the Billings Clinic and Riverstone

              doctors and residents knew that she had a prior history of multiple

              narcotic related respiratory arrests;

       (d)    Negligently failed to employ and use reasonable care and diligence

              and the necessary medical skills demanded for the care and treatment

              of Sarah;
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       (e)    Negligently failed to use the care and skill ordinarily exercised in like

              cases by qualified health care practitioners;

       (f)    Negligently failed to monitor Sarah Osborne closely enough, given

              her known history, to prevent respiratory arrest;

       (g)    Negligently failed to provide an adequate and timely response to the

              respiratory arrest;

       (h)    Negligently failed to provide an adequate and timely response to the

              cardiac arrest; and

       (i)    Negligently failed to properly supervise the treatment and care

              rendered to Sarah Osborne.

33.    The conduct of the Billings Clinic and Riverstone constitutes violations of

       the applicable standards of care and was a proximate cause of the injuries

       complained of, caused Sarah's death.

34.    At all material times before Sarah's death, Sarah was in the physical care of

       the Billings Clinic and Riverstone. The Billings Clinic and Riverstone had

       the authority, duty and ability to protect Sarah from harm.

35.    The acts and omissions of the Billings Clinic and Riverstone were a legal

       cause of death of Sarah Osborne.

36.    As a result of the negligence and harm caused by the Billings Clinic and

       Riverstone Sarah Osborne's heir or heirs have suffered legal harm.


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37.    The Court should assess damages against the Billings Clinic and the USA, in

       the full amount provided by Montana law for such injury and harm.

38.    Defendant Billings Clinic acted with actual malice as defined by MCA 27-1-

       221.    The Billings Clinic should be assessed punitive damages in a

       reasonable amount, sufficient to punish and educate Defendant, and other

       persons or entities similarly situated, that such conduct will not be allowed

       by the courts or citizens of Montana.

                                    COUNT II
                        Survivorship Action, MCA 27-1-501
                                    Negligence

39.    Plaintiff realleges and incorporates herein paragraphs 1-38 above by this

       reference.

40.    Defendants were negligent, as set forth above. Said negligence was a legal

       cause of serious physical, mental and emotional harm to Sarah Osborne,

       prior to her death, and a legal cause of Sarah's ultimate death.

41.    After Sarah suffered such injury and harm, she lived for an appreciable

       period, sufficient to suffer physical pain and mental anguish and serious

       emotional distress.

42.    As a result of such harm and injuries, Sarah Osborne suffered compensatory

       damages.

43.    Sarah Osborne's estate is entitled to judgment for all such compensatory


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       damages allowed by Montana law.

44.    Defendant Billings Clinic acted with actual malice as defined by MCA §27-

       1-221. Defendant Billings Clinic should be assessed punitive damages in a

       reasonable amount, sufficient to punish and educate it, and other persons or

       entities similarly situated, that such conduct will not be allowed by the

       courts and citizens of Montana.

                                  COUNT III
                    USA- Wrongful Death-FTCA; MCA 27-1-513
                                   Negligence

45.    Plaintiff realleges paragraphs 1-44 above and incorporates them by this

       reference.

46.    The conduct of the Billings Clinic and the USA, through Riverstone,

       constitutes violations of the applicable standards of care and was a

       proximate cause of Sarah's death.

47.    At all material times before Sarah's death, Sarah was in the physical care of

       the Billings Clinic and the USA, through Riverstone. The Billings Clinic

       and the USA, through Riverstone, had the authority, duty and ability to

       protect Sarah from harm.

48.    The acts and omissions of the Billings Clinic and the USA, through

       Riverstone, were a legal cause of death of Sarah Osborne.

49.    As a result of the negligence and harm caused by the Billings Clinic and


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       Riverstone Sarah Osborne's heir or heirs have suffered legal harm.

50.    The Court and jury should assess damages against the Billings Clinic and the

       USA, in the full amount provided by Montana law for such injury and harm.

                                 COUNT IV
                 USA-Survivorship Action, FTCA-MCA 27-1-501
                                  Negligence

51.    Plaintiff realleges and incorporates herein paragraphs 1-50 above.

52.    Defendants were negligent, as set forth above. Said negligence was a legal

       cause of serious physical, mental and emotional harm to Sarah Osborne,

       prior to her death, and a legal cause of Sarah's ultimate death.

53.    After Sarah suffered such injury and harm, she lived for an appreciable

       period, sufficient to suffer physical pain and mental anguish and serious

       emotional distress.

54.    As a result of such harm and injuries, Sarah Osborne suffered compensatory

       damages.

55.    Sarah Osborne's estate is entitled to judgment for all such compensatory

       damages allowed by Montana law.

       WHEREFORE, Plaintiff prays for judgment against Billings Clinic and the

United States of America:

            1. For all compensatory damages allowed by law;

            2. For punitive damages in an appropriate amount against Billings


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               Clinic; and

            3. For such other and further relief as the Court and jury deem

               appropriate.

       Dated this 10th day of October, 2014.

                                          BEST LAW OFFICES, P.C.


                                          By:   /s/ Elizabeth A. Best_____________
                                                Elizabeth A. Best, Esq.
                                                P.O. Box 2114
                                                Great Falls, MT 59403-2114
                                                Attorney for Plaintiff




                           DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury.

       Dated this 10th day of October, 2014.

                                          BEST LAW OFFICES, P.C.


                                          By:   /s/ Elizabeth A. Best_____________
                                                Elizabeth A. Best, Esq.
                                                P.O. Box 2114
                                                Great Falls, MT 59403-2114
                                                Attorney for Plaintiff




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